DATE: May 3, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Gabriel Seth Worsham, Executor, etc.
             v. Kathleen Bonnie Crispin Worsham, etc., et al.
             Record No. 0663-21-23
             Opinion rendered by Judge Raphael on
              January 11, 2022

          2. Horacio Eugenio Sobol
             v. Christine Marie Sobol
             Record No. 0459-21-4
             Opinion rendered by Judge Russell on
              January 25, 2022

          3. Catherine Ann Tomlin, a/k/a, etc.
             v. Commonwealth of Virginia
             Record No. 0561-21-3
             Opinion rendered by Judge Athey on
              March 15, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. W. Neil Wills
   v. Lisa J. Wills
   Record No. 0117-20-4
   Lisa J. Wills
   v. W. Neil Wills
   Record No. 0144-20-4
   Opinion rendered by Judge Beales
     on February 9, 2021
   Judgment of Court of Appeals affirmed by published order on April 7, 2022
   (210318)

2. Anthony Brian Barnett
   v. Commonwealth of Virginia
   Record No. 0487-20-3
   Opinion rendered by Judge O’Brien
    on April 6, 2021
   Refused (210921)
